Case 1:23-cv-03721-SCJ Document 1-148 Filed 08/21/23 Page 1 of 3




                 EXHIBIT B-137
    Case 1:23-cv-03721-SCJ Document 1-148 Filed 08/21/23 Page 2 of 3
                                                                           FILED IN OFFICE


                                                                                            RT

                 IN THE SUPERIOR COURT OF FULTON COUNT'"'-_,._-J:
                             STATE OF GEORGIA

                                               •

In re: Special Grand Jury                      •     CASE NO.:2022EX000024



                                               •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned     hereby requests   permission   to use a recording device in
Courtroom SD in order to record images and/or sound during all or portions
of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): )( computer of any size, including a
tablet, a notebook, and a laptop; X smart phone, a cell phone or other wireless
phone; _ camera and other audio or video recording devices          any similar
devices

The proceedings that the undersigned desires to record commence on JAN 24
:_Subject to direction from the court regarding possible pooled coverage, the
undersigned wishes to use this device in the courtroom on SD (12 P.M.) .

The personnel      who will be responsible         for the use of this recording   device
are:

The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.
*Notice to Requesting Agency or Individual*


For questions or concerns email pio@fultoncountyqa.gov                                 1
Rule 22 (Rev. 04/01/ 18)
    Case 1:23-cv-03721-SCJ Document 1-148 Filed 08/21/23 Page 3 of 3




In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

(News     Agency/Media           Outlet/Law         Firm/Individual   Representative)
ARCHITH SESHADRI -- NEXSTAR MEDIA GROUP (WJBF - ABC AUGUSTA,
WSVA - NBC SAVANNAH, WRBL - CBS COLUMBUS, WSPA - CBS GREENVILLE)

(Email           Address I                                    ASESHADRI@NEXSTAR. TV
ARCHITH.SESHADRI@PMAIL.COM


(Phone Number) 404-374-4251

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               [8]Approved


              The requesting agency:
                            be pool for its media
                      [8]Shall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this _23 __ day of __              JANUARY 2023




                                                   Fulton County
                                 Atlanta Judicial Circuit




For questions or concerns email pio@fultoncountyqa.gov                                  2
Rule 22 (Rev. 04/ 01/ 1 BJ
